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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION

                                                  §
NICOLE GUERRERO,                                  §
                                                  §
        Plaintiff,                                §
                                                  §
                                                          Civil Action No. 7:14-cv-00058-O
v.                                                §
                                                  §
WICHITA COUNTY, TEXAS et al.,                     §
                                                  §
        Defendants.                               §
                                                  §

                                              ORDER

        Before the Court is the parties’ Agreed Motion to Dismiss LaDonna Anderson (ECF No. 57),

filed on December 9, 2015. As Plaintiff has settled with all other parties, Plaintiff moves to dismiss

Defendant LaDonna Anderson (“Anderson”) with prejudice. Having considered the unopposed

motion, the Court finds that it should be and is hereby GRANTED.

        Accordingly, it is ORDERED that Anderson is DISMISSED with prejudice. It is further

ORDERED that each party will bear its own costs of court.

        SO ORDERED on this 10th day of December, 2015.


                                                         _____________________________________
                                                         Reed O’Connor
                                                         UNITED STATES DISTRICT JUDGE
